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                      UNITED STATES BANKRUPTCY COURT
                         MIDDLE DISTRICT OF FLORIDA
                           JACKSONVILLE DIVISION

IN RE: GENIE INVESTMENTS NV, INC.
                                                             CASE NO.: 3:24-bk-00496-BAJ
              Debtor (s).

___________________/

           DEBTOR’S MOTION FOR ENTRY OF A PROTECTIVE ORDER
              RELATED TO CREDITOR COMMITTEE DISCOVERY

1. GENIE INVESTMENTS NV, INC. (the “Debtor”) hereby moves the Court for entry of a

   Protective Order pursuant to Fed.R.Bankr.P. 7026(c) related to the OFFICIAL COMMITTEE

   OF UNSECURED CREDITORS’ MOTION FOR ENTRY OF AN ORDER (I) CLARIFYING THE

   REQUIREMENT TO PROVIDE ACCESS TO INFORMATION; AND (II) SETTING AND FIXING

   CREDITOR INFORMATION SHARING PROCEDURES AND PROTOCOLS (Doc. No. 113) and

   related discovery propounded by the Creditor Committee as attached.

2. It is clear that the committee merely seeks to become a rogue committee with the goal of

   personally prosecuting individual claims against the Debtor’s officers and directors. The

   Debtor has filed with the Court and made significant progress in relation to settling claims

   and proposing a 100% Chapter 11 Plan by the Debtor in this case

3. The creditors’ committee is comprised of individuals who are in breach of their fiduciary duty

   owed by the members to the committee and other creditors. As documented in this Motion

   and the attachments such members have committed misfeasance and malfeasance to the extent

   that they should be removed from the committee by this Court.

      In support of the Motion, the Debtor states as follows:




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                                JURISDICTION AND VENUE


1. The United States Bankruptcy Court for the Middle District of Florida has jurisdiction over this

   Motion pursuant to 28 U.S.C. §§ 157 and 1334. Venue is proper in this District pursuant to 28

   U.S.C. §§ 1408 and 1409. This matter is a core proceeding within the meaning of 28 U.S.C. §

   157(b)(2), and the Court may enter a final order consistent with Article III of the United States

   Constitution.

                                       BASIS FOR RELIEF


2. The statutory bases for the relief sought herein are found in sections 105 and 1104(a) of the

   Bankruptcy Code.

3. Fed.R.Bankr.P. 7026 is applicable this Motion and authorizes the Court to limit or prohibit
   discovery in this case. That Rule provides:

   (c) PROTECTIVE ORDERS.
   (1) In General. A party or any person from whom discovery is sought may move for a
   protective order in the court where the action is pending—or as an alternative on matters
   relating to a deposition, in the court for the district where the deposition will be taken. The
   motion must include a certification that the movant has in good faith conferred or attempted to
   confer with other affected parties in an effort to resolve the dispute without court action. The
   court may, for good cause, issue an order to protect a party or person from annoyance,
   embarrassment, oppression, or undue burden or expense, including one or more of the
   following:
           (A) forbidding the disclosure or discovery;
           (B) specifying terms, including time and place or the allocation of expenses, for the
       disclosure or discovery;
           (C) prescribing a discovery method other than the one selected by the party seeking
       discovery;
           (D) forbidding inquiry into certain matters, or limiting the scope of disclosure or
       discovery to certain matters;
           (E) designating the persons who may be present while the discovery is conducted;
           (F) requiring that a deposition be sealed and opened only on court order;
           (G) requiring that a trade secret or other confidential research, development, or
       commercial information not be revealed or be revealed only in a specified way; and
           (H) requiring that the parties simultaneously file specified documents or information in
       sealed envelopes, to be opened as the court directs.




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      (2) Ordering Discovery. If a motion for a protective order is wholly or partly denied, the
   court may, on just terms, order that any party or person provide or permit discovery.

       (3) Awarding Expenses. Rule 37(a)(5) applies to the award of expenses.

Fed.R.Bankr.P.7026 (2024).

                                         BACKGROUND

1. On February 21, 2024 (the "Petition Date"), the Debtor commenced the above-captioned

   chapter 11 case (the "Chapter 11 Case") by filing a voluntary petition for relief under chapter

   11 of title 11 of the United States Code, 11 U.S.C. §§ 101 et seq.

2. The Debtor continues to operate its business and manage its assets as a debtor-in-possession

   pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

3. On April 11, 2024 the Court appointed an Examiner in this Case to examine the pre-petition

   financial transactions of the Debtor in a limited capacity related to four (4) areas of interest to

   the Court. (Doc. No. 60).

4. On April 24, 2024, the Office of the United States Trustee (the "U.S. Trustee") appointed an

   official committee of unsecured creditors (the "Committee") in the Chapter 11 Case pursuant

   to section 1102(a)(1) of the Bankruptcy Code (Doc. No. 71).

5. The factual background relating to the Debtor’s commencement of the Chapter 11 Case is set

   forth in detail in the Case Management Summary (Doc. No. 44) and Response to Trustee’s

   Motion for Appointment of Chapter 11 Trustee (Doc. No. 34).

6. On May 24, 2024 at Doc. No. 113, the Creditors’ Committee filed it’s OFFICIAL COMMITTEE

   OF UNSECURED CREDITORS’ MOTION FOR ENTRY OF AN ORDER (I) CLARIFYING THE

   REQUIREMENT TO PROVIDE ACCESS TO INFORMATION; AND (II) SETTING AND FIXING

   CREDITOR INFORMATION SHARING PROCEDURES AND PROTOCOLS. In connection with

   that Motion, the Creditor’s Committee served upon the Debtor the discovery requests attached as



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   Exhibit 1 to this Motion. In short, the discovery requests and related motion sought twenty-four

   categories of documents which would entail the Debtor producing every financial record that it had

   every produced in it’s existence to the creditors’ committee.

                      EVENTS IN THE DEBTOR’S CHAPTER 11 CASE

7. Since the commencement of this case, the Debtor has worked diligently to make all creditors

   whole in this chapter 11. Progress made by the Debtor to date includes, among other things: (i)

   completing all schedules after an initial pro se filing by the Debtor for the efficient administration

   of this chapter 11 case; (ii) updating and filing the Debtor’s schedules of assets and liabilities and

   statement of financial affairs, (iii) participating in the meeting of creditors under section 341 of

   the Bankruptcy Code; (iv) completing and filing monthly operating and reconciliation reports and

   complying with United States Trustee and Examiner requests for documents and information,

   including complying with ongoing Examiner discovery; and (v) extending the proof of claim

   bar date.

8. The Debtor has extensively reviewed with the Examiner the documents needed in this case and

   has supplied all critical documents requested by the Examiner in order for her to complete her

   report. The Debtor expects that the examiner report will be issued shortly to detail to the

   creditors’ committee, the United States Trustee and the Court whether there has been

   fraudulent conduct on the part of the Debtor as related to pre-petition conduct which the Court

   authorized the examiner to document.

9. The Debtor has also settled a claim against Velanos Principal Capital, as a Canadian entity,

   related to the pre-petition claim against Velanos for the alleged theft of $9M in funds from

   Genie as a result of a pre-petition Stand By Letters of Credit. That settlement was formulated

   as a result of an extensive and aggressive two year arbitration and litigation effort by the Debtor




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   against Velanos. Genie was able to secure a $15M settlement from Velanos which appears to

   be sufficient to pay all claims in full as estimated by the Debtor.

10. The Debtor has also sought to pursue the remaining claims against other entities which had

   previously helped to facilitate the fraud of Velanos. Namely, the Debtor has begun to pursue

   claims against it’s former attorney who allegedly had a conflict of interest and committed

   malpractice in advising the Debtor that it’s investment in Velanos was a sound business

   decision.

11. Accordingly, the Committee merely seeks to duplicate the efforts of the examiner with it’s

   discovery requests. Such duplication will only serve to increase administrative expenses to the

   estate with no furtherance of the efforts to collect claims on behalf of the creditors. The Debtor

   cannot pay more than 100% of all claims filed in this case. Additionally, the Debtor has already

   pursued and settled claims that will allow this case to be a 100% plan with no additional effort

   required by the creditors’ committee.

12. The committee merely seeks to become a rogue committee with the goal of personally

   prosecuting individual claims against the Debtor’s officers and directors. The U.S. Trustee is

   mandated to remove committee members who may even appear to have breached their

   fiduciary duty: A creditor on a committee who exudes the appearance of a breach of fiduciary

   duty undermines that basic bankruptcy tenet, thereby corrupting the process. The United States

   Trustee would act arbitrarily and capriciously if he refused to remove a committee member

   who held a conflict of interest amounting to a breach of the fiduciary duty owed by the creditor

   to the creditors represented by the committee or who appeared to hold such a conflict. In re

   Venturelink Holdings, Inc., 299 B.R. 420, 423-4 (Bankr. N.D. Tex. 2003).




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13. As evidence of the above the Debtor would point the Court to the following Exhibits attached

   to this Motion:

    Exhibit 2 – North Haven Lodging Partners LLC Attn: Benjamin Morris, Esq. Foley & Lardner LLP

    11988 El Camino Real, Suite 400 San Diego, CA 92130 Phone: (858) 847-6750 Email:

    bmorris@foley.com

    Exhibit 2 documents the pre and post-petition threats by this member to David Hughes related to

    threats of criminal prosecution in furtherance of this member’s personal gains. As recently as May 7,

    2024 it appears that this member was attempting to personally collect his money from the Debtor in

    violation of his fiduciary duty to the committee and creditors. May 7, 2024 is at least two weeks after

    this member was appointed to the committee.

    Exhibit 3 - Autonomous Drone Solutions LLC DBA Calaway Solutions Attn: Garrett Calaway 7180

    S    Hudson      Circle    Centennial,     CO       80122    Phone:     (832)     578-2982      Email:

    gcalaway@autonomousdronesolutions.com

    Exhibit 3 documents the misfeasance and malfeasance by this member in two distinct ways. Initially,

    prior to the case, the member sought to further his own personal gain from the Debtor in derogation of

    his fiduciary duty to the committee and creditors by seeking to intimidate the attorney for Genie with

    threats of “seeing in person” the attorney for Genie who is located in Missouri despite the member

    being located in Colorado. This threat was related to a post petition statement by the member on March

    15, 2024 to the attorney for Genie that the attorney should “Eat a bag of Dicks”. Secondly, the member

    has filed Claim No. 29 in this case. The claim seeks $2.5M in damages from the Debtor. However, as

    attached to Exhibit 3 it is clear that the member possessed a claim for only $100,075 as a result of a

    wire transfer to Genie which had not been refunded as of the date of the Petition. Even the loan

    documents attached to Exhibit 2 show a maximum loan amount of $667,000 that could have been



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    provided to this member. This member clearly has placed his own financial gain above that of the other

    unsecured creditors by the filing of a false claim with no documentation attached to substantiate the

    amount claimed.

                                          RELIEF REQUESTED

1. The Debtor requests entry of an order pursuant to Fed.R.Bankr.P. 7026 which prohibits

   disclosure and/or discovery of all material to the committee until the Examiner has completed

   the report which the Court authorized;

2. The Debtor requests that all discovery be prohibited if the examination of the Debtor produces

   no evidence of fraud on the part of the Debtor;

3. In the alternative, the Debtor would request that the Court allow the committee the opportunity

   to review the materials produced by the Debtor to the examiner and order appropriate

   confidentiality agreement protections to ensure that trade secret, personal identifiable

   information and other privileged information is not disclosed;

4. Any further information relief which the court deems is just and equitable in this regard.




                                  [INTENTIONALLY LEFT BLANK]




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                                 CERTIFICATE OF SERVICE

        I DO HEREBY CERTIFY that a copy of the foregoing was furnished to the United States

Trustee and all creditors per the attached matrix by CM/ECF filing this __3____ day of June,

2024.



                                                 Law Offices of Mickler & Mickler, LLP


                                                 By:__/s/ Bryan K. Mickler______
                                                    Bryan K. Mickler
                                                 Florida Bar No. 091790
                                                 Attorney for the Debtor(s)
                                                 5452 Arlington Expressway
                                                 Jacksonville, FL 32211
                                                 (904) 725-0822
                                                 (904) 725-0855 FAX
                                                 bkmickler@planlaw.com




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                    EXHIBIT 1
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Edward M. Fitzgerald
+1 407-244-5131
edward.fitzgerald@hklaw.com



May 23, 2024

SENT VIA U.S. MAIL and E-MAIL (bkmickler@planlaw.com)

Bryan K. Mickler, Esq.
Mickler & Mickler
5452 Arlington Expressway
Jacksonville, FL 32211

         Re:       In re: Genie Investments NV, Inc.
                   United States Bankruptcy Court
                   Middle District of Florida, Jacksonville Division
                   Case No. 3:24-bk-00496-BAJ (the “Case”)

Mr. Mickler:

       On behalf of the Official Committee of Unsecured Creditors (the “Committee”), we look
forward to working with you on the above-entitled Case. In order to analyze, among other things,
the Debtor’s assets and liabilities, the Committee hereby requests that the Debtor produce all
documents and information previously produced to Maria Yip, the court appointed examiner in
the Case, and to the extent not duplicative, the additional following information to the Committee:

         1.        Copies of all of the Debtors' financial statements from 2021 to the present.

         2.        2024 monthly YTD actual financial statements.

         3.        All monthly bank account statements from 2021 to present.

         4.        The Debtor’s Morgan Stanley account statements from 2021 to present.

         5.        Documents reflecting the Debtor’s loan from Morgan Stanley.

         6.        Copies of all Leases for which the Debtor is a party.

         7.        Any appraisals or other valuations of the Debtors' assets, whether in draft form or
                   completed, from 2021 to current.

         8.        Documents reflecting any actual or estimated unpaid tax obligations of the Debtors
                   accruing on or before the Debtor’s petition date.

         9.        Documents reflecting the loans to insider corporations listed on the Debtor’s
                   statement of financial affairs.

         10.       Documents reflecting any payments to creditors of the Debtor within ninety (90)
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Bryan K. Mickler, Esq.
May 23, 2024
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            days prior to the Debtor’s petition date.

      11.   Documents reflecting any payments to insiders within one (1) year prior to the
            Debtor’s petition date.

      12.   Documents evidencing any payments by the Debtor to brokers or “finders” in
            connection with the Debtor’s Business Expansion Line of Credit (“BELOC”)
            lending operations from 2021 to current.

      13.   Loan Documents for any BELOC loans that were ultimately funded partially or in
            full by Debtor and/or or a “white labeler” working with the Debtor.

      14.   Documents or statements reflecting any payments received from borrower(s) by the
            Debtor in connection with any partially or fully funded BELOC loan.

      15.   Loan Documents for any BELOC loans that were never funded by the Debtor
            and/or a “white labeler” working with the Debtor.

      16.   Loan Documents for any bridge loans that were ultimately funded partially or in
            full by Debtor and/or or a “white labeler” working with the Debtor.

      17.   Documents or statements reflecting any payments received from borrower(s) by the
            Debtor in connection with any partially or fully funded bridge loan.

      18.   Loan Documents for any bridge loans that were never funded by the Debtor and/or
            a “white labeler” working with the Debtor.

      19.   An organizational chart reflecting all parent, subsidiary, and affiliate companies of
            the Debtor.

      20.   An organizational chart reflecting all executives and officers employed by the
            Debtor.

      21.   An organizational chart reflecting all executives and officers employed by all
            parent, subsidiary, and affiliate companies of the Debtor.

      22.   Copies of complaints and/or arbitration demands for any pending actions filed
            against the Debtor.

      23.   Copies of complaints and/or arbitration demands for any pending actions filed on
            behalf of the Debtor, and/or any parent, subsidiary, affiliate, or insider of the
            Debtor.

      24.   Documents reflecting any retainers paid by Debtor or any affiliate, parent,
            subsidiary, or insider of the Debtor in connection with any pending lawsuit and/or
            arbitration for which the Debtor, or any affiliate, parent, subsidiary, or insider of
            the Debtor is a party.
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        The Committee requests that the Debtor produce the information requested above on a
rolling basis as soon as possible. The Committee will supplement this information request as it
continues to review the Debtor’s assets, liabilities, pending motions and other matters.

                                           Sincerely,

                                           HOLLAND & KNIGHT LLP

                                           Edward M. Fitzgerald
                                           Edward M. Fitzgerald

EMF/tb




#503087681_v1
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                     EXHIBIT 2
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Screenshot of the most recent harassing email from Preet Patel written on May 7th, 2024
(last week), to David Hughes (Genie Investments). Again, you can read below where David
is instructing Preet Patel to cease all direct communications on November 8th, 2023 & Preet
is emailing yet another message on May 7th:




Screenshot below of a text message sent from David Hughes (Genie Investments), to Preet
Patel in October of 2023 instructing Preet to cease and desist with harassing messages.:
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Screenshot of an email from Preet Patel written on November 8th, 2023 to David Hughes
(Genie Investments). After many attempts and conference calls with the Patels and their
counsel
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                     EXHIBIT 3
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From: Adam Walker <adam@awsecuritieslaw.com>
Sent: Thursday, May 30, 2024 1:46 PM
To: David from Genie Investments <dhughes@genieinvestments.com>
Subject: Fwd: Autonomous Drone dba Calaway Solutions

Forwarding the message I sent you after the initial call I got from Garrett Callaway. I recall
him saying he wanted to make me "feel him" or "feel his presence" -- something to that
effect.



Adam Walker
AW Securities Law
www.awsecuritieslaw.com
(816) 226-6476


---------- Forwarded message ---------
From: Adam Walker <adam@awsecuritieslaw.com>
Date: Wed, Nov 8, 2023 at 11:30 AM
Subject: Autonomous Drone dba Calaway Solutions
To: David from Genie Investments <dhughes@genieinvestments.com>, John from Genie
Investments <jmcohan@genieinvestments.com>


FYI, I just got a very angry call from Garrett Calaway re his 11-2 refund letter. He said he
intends to abide by the non-disparagement and other provisions of the BELOC agreement,
but also repeatedly talked about coming to Kansas City to see me in person. I'm not sure
what that's about other than attempted intimidation. Anyway, he said he needs "regular
updates," which I told him Genie had already committed to provide.



Adam Walker
Walker Law Office, LLC
(816) 226-6476
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Bryan Mickler

From:                            Shiloh A. Parker <shiloh@thesabfirm.com>
Sent:                            Friday, March 15, 2024 10:02 PM
To:                              John from Genie Investments; David from Genie Investments
Cc:                              Shiloh A. Parker
Subject:                         Fwd: Genie Investments v. Garrett Calaway, et al.


Where do I buy this? LOL



SHILOH A. PARKER, Esq.
Attorney-at-Law
www.thesabfirm.com

CONFIDENTIALITY NOTICE: The contents of this email message and any attachments are intended solely
for the addressee(s) and may contain confidential and/or privileged information and may be legally
protected from disclosure.If you have received this correspondence in error, please immediately notify
the sender by replying to this email; and delete this communication from your records.



        Begin forwarded message:

        From: Garrett Calaway <gcalaway@calawaysolutions.com>
        Subject: Re: Genie Investments v. Garrett Calaway, et al.
        Date: March 15, 2024 at 6:09:15 PM MST
        To: "Shiloh A. Parker" <shiloh@thesabfirm.com>

        Eat a bag of dicks
        Thank you for your time,
        Garrett Calaway



                On Mar 15, 2024, at 16:51, Shiloh A. Parker <shiloh@thesabfirm.com> wrote:

                Please see a communication regarding this matter. A hard copy has been mailed as
                well.

                Thank you,



                SHILOH A. PARKER, Esq.
                Attorney-at-Law
                www.thesabfirm.com

                CONFIDENTIALITY NOTICE: The contents of this email message and
                any attachments are intended solely for the addressee(s) and may contain
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confidential and/or privileged information and may be legally protected from
disclosure.If you have received this correspondence in error, please
immediately notify the sender by replying to this email; and delete
this communication from your records.


<3-15-2024 - Cease and Desist.pdf>




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